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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF OREGON
                                 MEDFORD DIVISION

 KLAMATH-SISKIYOU WILDLANDS                      )   Case No. 1:19-CV-01810-CL
 CENTER, OREGON WILD, et al.                     )
          Plaintiffs,                            )
                                                 )   ORDER
       v.                                        )
                                                 )
 UNITED STATES BUREAU OF                         )
 LAND MANAGEMENT                                 )
          Federal Defendant,                     )
                                                 )
       and                                       )
                                                 )
 MURPHY COMPANY                                  )
         Intervenor-Defendant.                   )
                                                 )


        This case comes before the Court on the Parties’ Joint Status Report and Proposed

Schedule. The Court finds good cause and hereby ORDERS as follows:

        1.       The parties will amend the pleadings or add parties by August 5, 2020.

        2.       Federal Defendant must file an answer to Plaintiffs’ Amended Complaint within

14 days of Plaintiffs’ filing.

        3.       Federal Defendant will lodge the Administrative Record with the Court by

September 9, 2020 and may lodge the Administrative Record on electronic media (e.g., thumb

drive), rather than filing it on CM-ECF.

        4.       Plaintiffs and Intervenor-Defendant will inform Federal Defendant, informally

and in writing, of any objections to the Administrative Record by September 30, 2020.

        5.       Any motion to complete, supplement, or otherwise challenge the sufficiency of

the Administrative Record is due by October 14, 2020. Plaintiffs and Intervenor-Defendant may

file any such motions based only on the issues raised informally with Federal Defendant. The
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filing of a motion to complete, supplement, or otherwise challenge the sufficiency of the

Administrative Record will not suspend the summary judgment briefing set forth below.

       6.       Plaintiffs’ opening summary judgment brief shall be due by November 4, 2020.

       7.       Federal Defendant’s combined cross-motion and response brief shall be due by

December 16, 2020.

       8.       Intervenor-Defendant’s combined cross-motion and response brief shall be due by

December 16, 2020.

       9.       Plaintiffs’ combined response and reply brief shall be due by January 13, 2021.

       10.      Federal Defendant’s reply shall be due by February 10, 2021.

       11.      Intervenor-Defendant’s reply shall be due by February 10, 2021.

       12.      If the Court rules in Plaintiffs’ favor on one or more of Plaintiffs’ claims on

summary judgment, the Parties shall confer and propose a briefing schedule for remedy within

14 days of the Court’s ruling.

IT IS SO ORDERED and DATED this 28th day of July, 2020.




                                               /s/ Mark D. Clarke

                                               MARK D. CLARKE
                                               United States Magistrate Judge




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